             Case 1:13-cr-00036-LJO-SKO Document 56 Filed 03/14/13 Page 1 of 2


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7                                 UNITED STATES DISTRICT COURT

8                                EASTERN DISTRICT OF CALIFORNIA
9
                                             FRESNO DIVISION
10

11   United States of America                                     Case No. 1:13-CR-0036-LJO-SKO

12   Plaintiff,

13           vs.                                                  Order Authorizing Release Of
                                                                  Pretrial Services Report
14   Dung Hanh Dao,
15
     Defendant.
16

17
             GOOD CAUSE APPEARING, pursuant to the filing of a Ninth Circuit appeal by
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     Defendant of this Court’s detention order entered on February 25, 2013, it is hereby ordered that
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     the Pretrial Services Office for the United States District Court for the Eastern District of
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     California provide copies of the Pretrial Services Report and any supplemental reports or
21
     materials which were presented to United States District Judge Lawrence J. O’Neill, and that
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     those reports be provided to the Clerk of the Court for inclusion in the record on appeal to be
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     transmitted to the Court of Appeals for the Ninth Circuit.
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                                      Order Releasing Pre Trial Services Report
                              Case 1:13-cr-00036-LJO-SKO Document 56 Filed 03/14/13 Page 2 of 2



1                             FURTHER, that after the conclusion of the consideration of the appeal by the Ninth
2    Circuit United States Court of Appeals, said reports are to be returned to the Pretrial Services
3    Office for the Eastern District of California, maintained in their files and not retained in any
4    other court file.
5

6
     IT IS SO ORDERED.
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8
                           Dated:   March 13, 2013                                /s/ Lawrence J. O’Neill
     DEAC_Signature-END:
                                                                             UNITED STATES DISTRICT JUDGE
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                                                     Order Releasing Pre Trial Services Report
